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15                               UNITED STATES DISTRICT COURT

16                                      DISTRICT OF NEVADA
17   SYLVIA QUINN,                                     Case No.: 2:18-cv-01909-JAD-DJA
18
                    Plaintiff,
19                                                     STIPULATION AND ORDER
     vs.
20                                                     DISMISSING WELTMAN, WEINBERG &
     WELTMAN, WEINBERG & REIS CO, LPA,                 REIS CO., LPA, WITH PREJUDICE
21
                    Defendant.                                   ECF No. 20
22

23
            PLEASE TAKE NOTICE that Plaintiff Sylvia Quinn (“Plaintiff”) and Defendant Weltman,
24

25
     Weinberg & Reis Co., LPA (“WWR”) hereby stipulate and agree that the above-entitled action

26   shall be dismissed with prejudice in accordance with Fed. R. Civ. P. 41 (a)(2).

27          There are no longer any issues in this matter between Plaintiff and WWR to be determined
28   STIPULATION AND ORDER DISMISSING WELTMAN, WEINBERG & REIS CO., LPA, WITH PREJUDICE -
     1
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 1   by the Court, and WWR is the only defendant. Plaintiff hereby stipulates that all of her claims and
 2
     causes of action against WWR, which were or could have been the subject matter of this lawsuit,
 3
     are hereby dismissed with prejudice, without costs or fees to any party.
 4
            IT IS SO STIPULATED.
 5
            Dated August 27, 2019.
 6
      KNEPPER & CLARK LLC                              NAYLOR & BRASTER
 7
      /s/ Matthew I. Knepper                           /s/ Jennifer L. Braster
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      Counsel for Plaintiff
18
                                          ORDER GRANTING
19
        STIPULATION OF DISMISSAL OF WELTMAN, WEINBERG & REIS CO., LPA,
20
                                         WITH
          Based on the parties' stipulation    PREJUDICE
                                            [ECF No. 20] and good cause appearing, IT IS
21
      HEREBY ORDERED that THIS ACTION IS DISMISSED with prejudice, each side
22    to bear its own fees and costs. The Clerk of Court is directed to CLOSE THIS
23    CASE. IT IS SO ORDERED.
                                                 ______________________________
            _________________________________________         ____
                                                                 _ _________
                                                                           ____
                                                                             ___________
24
            UNITED STATES DISTRICT COURT JUDGE   U.S. District Ju
                                                               Judge
                                                                uddgge Je
                                                                       JJennifer
                                                                          nniferr A. Do
                                                                                     D
                                                                                     Dorsey
                                                                                        r
25                                               Dated: Augustst 28
                                                                 28, 2019
26          DATED this ____ day of _________ 2019.

27

28   STIPULATION AND ORDER DISMISSING WELTMAN, WEINBERG & REIS CO., LPA, WITH PREJUDICE -
     2
